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                                                  September 19, 2022

          Hon. Ellen L. Hollander
          U.S. District Court
          101 W. Lombard Street
          Baltimore, MD 21201

                    Re:    United States v. Keyon Paylor
                           Criminal Case No. ELH-14-271

          Dear Judge Hollander:

                  The Court reached out to the parties in this matter about a pending violation of supervised
          release petition after the Court received a letter from Mr. Paylor asking to resolve the petition,
          which is serving as a detainer and affecting his security classification in the Maryland
          Department of Corrections. ECF 166. Undersigned counsel asked the Court to consider
          recalling the warrant so that the petition would no longer serve as a detainer. ECF No. 174. The
          Court held a status conference call on June 22, 2022, and Assistant United States Attorney Peter
          Martinez opposed a recall of the warrant. While the Court declined the request to recall the
          warrant, the Court indicated a willingness to schedule a violation of supervised release hearing
          for Mr. Paylor if that is what he desired. Almost three months have passed since that conference
          call—and the Fourth Circuit Court of Appeals still has not issued a ruling on Mr. Paylor’s
          pending § 2255 petition. At this point, it is Mr. Paylor’s desire for the Court to schedule a
          violation of supervised release hearing. Because Mr. Paylor is in state custody, the Department
          of Corrections will require at least three weeks of notice to honor a writ. Thus, I am asking the
          Court to schedule a hearing in the second half of October.

                                                        Respectfully,

                                                            /s/

                                                        Katherine Tang Newberger
                                                        First Assistant Federal Public Defender

          cc:       Peter Martinez, Assistant United States Attorney (via ECF)
                    Bruce James, U.S. Probation Officer (via email)
                    Renee Spence, Esq., Loevy & Loevy (via ECF)
